 Case 8:21-cv-02695-WFJ-AAS Document 1 Filed 11/17/21 Page 1 of 13 PageID 1




                               UNITED STATES DISTRICT COURT
                                          For the
                                MIDDLE DISTRICT OF FLORIDA


FULL MOON LOGISTICS, LLC,                      )
a Florida Limited Liability Company,           )
and                                            )
JADESH JAIGOBIND,                              )
an individual,                                 )
                                               )
Plaintiffs,                                    )       CASE NO.:
                                               )
v.                                             )
                                               )
BALD EAGLE LOGISTICS, INC.,                    )       JURY TRIAL ELECTED
a New Jersey Corporation,                      )
and                                            )
MALIAN NUS,                                    )
an individual.                                 )
                                               )
_________________________________/             )

        COMPLAINT FOR A CIVIL CASE ALLEGING BREACH OF CONTRACT
                    (28 U.S.C. § 1332; Diversity of Citizenship)

COMES NOW Plaintiffs, FULL MOON LOGISTICS LLC and JADESH JAIGOBIND,

(hereinafter “Full Moon”, “Jaigobind respectively, or collectively “Plaintiffs”) by and through

their undersigned counsel, hereby sues Defendants, Bald Eagle Logistics, Inc. and MALIAN

NUS (hereinafter “Bald Eagle” or “Nus” respectively, or collectively “Defendants”) and states as

follows:

                                 PARTIES AND JURISDICTION

     1. Plaintiff, Full Moon, is a Florida Limited Liability Corporation with its principal place of

        business in Davenport, Polk County, Florida.

     2. Plaintiff, Jaigobind, is a resident of Davenport, Polk County, Florida and is sui juris in all

        respects.
Case 8:21-cv-02695-WFJ-AAS Document 1 Filed 11/17/21 Page 2 of 13 PageID 2




  3. Defendant, Bald Eagle is a New Jersey Corporation, with its principal place of business

     in Manalapan, Western Monmouth County, New Jersey.

  4. Defendant, Nus is a New Jersey Resident, and is sui juris in all respects.

  5. Defendants have contracted with Plaintiff and agreed to venue in Florida. See attached

     Exhibit “A”.

  6. This is an action for damages for breach of contract in excess of $75,000.00, exclusive of

     interest, court costs, and a reasonable attorney’s fee.

  7. Jurisdiction in this Court is proper under 28 U.S.C. § 1332.

                                   GENERAL ALLEGATIONS

  8. On or about August 18, 2021. Plaintiffs and Defendants entered into a Dispatcher –

     Carrier Agreement (hereinafter, “Agreement”) whereby Plaintiffs would provide

     dispatching commodities shipment services to Plaintiffs in exchange for a ten percent

     payment per transaction secured through Plaintiff/Dispatcher’s compilation of

     relationships and contacts. See attached Exhibit “A”.

  9. On or about October 22, 2021 Defendants abruptly ended the Agreement with Plaintiffs

     without proper notice.

  10. On or about October 22, 2021 Plaintiffs gave notice via email to Defendants regarding

     the Breach of Contract to which Defendants responded with vulgarities. See attached

     Exhibit “B”.

  11. On or about October 27, 2021 Plaintiffs gave formal notice to Defendants regarding the

     breach, to which Defendants refused to answer. See attached Exhibit “C”.
Case 8:21-cv-02695-WFJ-AAS Document 1 Filed 11/17/21 Page 3 of 13 PageID 3




                                  COUNT I
                      MISAPPROPRIATION OF TRADE SECRET
                              UNDER FLORIDA’S
                         UNIFORM TRADE SECRETS ACT

  12. Plaintiffs reallege and incorporate herein the allegations set forth in paragraphs 1-11,

     above.

  13. Under Chapter 668 of Florida’s Uniform Trade Secrets Act, allows for an action of

     Misappropriation of a Trade Secret when use of a trade secret of another without express

     or implied consent by a person who acquired (the trade secret) under circumstances

     giving rise to a duty to maintain its secrecy or limit its use. Fla. Stat. §

     688.002(2)(b)(2)(b).

  14. According to Fla. Stat. § 688.002(4) a trade secret means information, including a

     formula, pattern, compilation, program, device, method, technique, or process that: (a)

     derives independent economic value, actual or potential, from not being generally known

     to, and not being readily ascertainable by proper means by, other persons who can obtain

     economic value from its disclosure or use; and (b) is the subject of efforts that are

     reasonable under the circumstances to maintain its secrecy.

  15. Plaintiffs have created a confidential business compilation of companies and customers

     that was acquired through Plaintiff owner’s industry involving logistics. see Kavanaugh

     v. Stump, 592 So. 2d 1231, 1232 (Fla. 5th DCA 1992); E. Colonial Refuse Serv., Inc. v.

     Velocci, 416 So. 2d 1276, 1278 (Fla. 5th DCA 1982).

  16. Plaintiffs contracted dispatcher services with Defendants whereby Plaintiffs would

     arrange carrier services through Plaintiff’s confidential compilation of companies and

     customers. See attached Exhibit “A”.
Case 8:21-cv-02695-WFJ-AAS Document 1 Filed 11/17/21 Page 4 of 13 PageID 4




  17. Defendants agreed to the contracted terms whereby Defendant acknowledged that these

     compilations are the sole and exclusive property of Plaintiff. See sections 7-11 of

     attached Exhibit “A”.

  18. Defendants further agreed to the prohibition of Defendants use of these compilations for

     a period of two years following the termination of the Agreement unless written consent

     was provided by Plaintiffs. see section 7 of attached Exhibit “A”.

  19. Contrary to the agreed upon clause, Defendants have knowingly, intentionally, and

     maliciously continued to procure business from Plaintiff’s confidential business

     compilations. See attached Exhibit “D” and “E”.

  20. Plaintiffs have sent multiple notices, including a Notice of Breach of Contract Email, a

     formal Notice Letter which outlined the above referenced sections of the Agreement that

     would prohibit Defendants from using Plaintiffs Trade Secrets for a minimum period of

     two years following the termination of the Agreement and a Notice of Cease and Desist

     to put Defendants on Notice that Plaintiff continues to demand compliance with the

     Agreement; all of which have gone ignored and unheeded. For Notice of Cease and

     Desist see attached Exhibit “F”.

  21. Plaintiff continues to experience financial losses as the result of Defendants

     misappropriation of Plaintiff’s trade secrets. Plaintiff’s damages continue to mount per

     day and per transaction making Plaintiff’s damages immediate and irreparable.

  22. Fla. Stat. § 688.003 entitles Plaintiffs to injunctive relief against Defendant to enjoin

     Defendant’s misappropriation of Plaintiffs’ Trade Secret. see Fla. Stat. § 688.003(1).

  23. Fla. Stat. § 688.004 entitles Plaintiffs to recover damages for misappropriation. These

     damages include the actual loss caused by misappropriation and the unjust enrichment
Case 8:21-cv-02695-WFJ-AAS Document 1 Filed 11/17/21 Page 5 of 13 PageID 5




      caused by misappropriation that is not taken into account in computing actual loss. see

      Fla. Stat. § 688.004(1). Or in lieu of damages caused by misappropriation may be

      measured by imposition of liability for a reasonable royalty for a misappropriator’s

      unauthorized disclosure or use of a trade secret. see Fla. Stat. § 688.004(1).

  24. Fla. Stat. § 688.004 entitles Plaintiffs to be awarded exemplary damages in an amount not

      exceeding twice any award made under subsection (1) when the misappropriation is

      willful or malicious. see Fla. Stat. § 688.004(2).

  25. Defendants acts of using Plaintiffs confidential business compilations after agreeing to

      not do so and being advised multiple times in writing to cease and desist the use of

      Plaintiffs’ Trade Secrets constitute willful and malicious misappropriation.

  26. Fla. Stat. § 688.005 entitles Plaintiffs to be awarded reasonable attorney’s fees when

      willful and malicious misappropriation exists. Here, Defendants, through their own

      actions, have demonstrated a willful and malicious misappropriation; thereby entitling

      Plaintiff to recovery of Attorney’s fees.

  27. Fla. Stat. § 688.006 further entitles Plaintiff to preservation of the secrecy of Plaintiffs’

      trade secrets, to which Plaintiff respectfully requests the Court act to preserve Plaintiff’s

      trade secrets by taking the appropriate actions outlined in Chapter 668 of Florida Statutes.



      WHEREFORE, Plaintiffs Full Moon Logistics, LLC and Jadesh Jaigobind, demand

  injunctive relief enjoining Defendants Bald Eagle Logistics, Inc. and Malian Nus from

  continued misappropriation of Plaintiffs’ Trade secrets and judgment against Defendants

  Bald Eagle Logistics, Inc. and Malian Nus for actual losses caused by the misappropriation,

  in conjunction with the unjust enrichment caused by same misappropriation, exemplary
Case 8:21-cv-02695-WFJ-AAS Document 1 Filed 11/17/21 Page 6 of 13 PageID 6




  damages, attorneys fees, court costs, interest, and any other relief the Court deems just and

  proper.

                                   COUNT II
                      MISAPPROPRIATION OF TRADE SECRET
                     UNDER THE DEFEND TRADE SECRETS ACT
                                 18 USC § 1836

  28. Plaintiffs reallege and incorporate herein the allegations set forth in paragraphs 1-11,

     above.

  29. Under 18 U.S. Code Chapter 90, allows action to be brought against whoever, with intent

     to convert a trade secret, that is related to a product or service used in or intended for use

     in interstate commerce, to the economic benefit of anyone other than the owner thereof,

     and intending or knowing that the offense will, injure any owner of that trade secret,

     knowingly steals or without authorization appropriates, copies, conveys, or possesses

     such information. The committer of such action shall be fined under this title, imprisoned

     not more than 10 years, or both. See 18 U.S.C. § 1832(a)(1)-(5).

  30. Plaintiffs are owners of their trade secret, which is made up of Plaintiff’s compilations,

     methods, techniques, processes, procedures, confidential carrier and supplier lists that

     Plaintiffs have compiled through personal work in their field and which information is

     not readily discoverable by the public.

  31. Plaintiffs as owners of the trade secret that has been misappropriated by Defendants may

     bring forth this action against Defendants.

  32. Defendants have acknowledged, agreed, and signed that Plaintiff would be irreparably

     harmed economically should Plaintiff’s trade secret be used without Plaintiff’s written

     consent. See sections 7-11 of attached Exhibit “A”.
Case 8:21-cv-02695-WFJ-AAS Document 1 Filed 11/17/21 Page 7 of 13 PageID 7




  33. Defendant, having acknowledged this harm, has used Plaintiff’s trade secrets to acquire

     business without Plaintiff’s written consent. Defendant has without authorization

     appropriated such information and has conspired with one or more other persons to use

     this information and have economically benefitted from such use. See Attached Exhibit

     “D” and “E”.

  34. Defendants further agreed to the prohibition of Defendants use of these compilations for

     a period of two years following the termination of the Agreement unless written consent

     was provided by Plaintiffs. see section 7 of attached Exhibit “A”.

  35. Contrary to the agreed upon clause, Defendants have knowingly, intentionally, and

     maliciously continued to procure business from Plaintiff’s confidential business

     compilations. See attached Exhibit “D” and “E”.

  36. Plaintiffs have sent multiple notices, including a Notice of Breach of Contract Email, a

     formal Notice Letter which outlined the above referenced sections of the Agreement that

     would prohibit Defendants from using Plaintiffs Trade Secrets for a minimum period of

     two years following the termination of the Agreement and a Notice of Cease and Desist

     to put Defendants on Notice that Plaintiff continues to demand compliance with the

     Agreement; all of which have gone ignored and unheeded. For Notice of Cease and

     Desist see attached Exhibit “F”.

  37. Plaintiff continues to experience financial losses as the result of Defendants

     misappropriation of Plaintiff’s trade secrets. Plaintiff’s damages continue to mount per

     day and per transaction making Plaintiff’s damages immediate and irreparable.

  38. Under 18 U.S.C. § 1832 Plaintiff is entitled to not more than the greater of $5,000,000

     dollars or three times the value of the stolen trade secret to the organization, including
Case 8:21-cv-02695-WFJ-AAS Document 1 Filed 11/17/21 Page 8 of 13 PageID 8




     expenses for research and design and other costs of reproducing the trade secret that the

     organization has hereby avoided. See 18 U.S.C. § 1832(b).



     WHEREFORE, Plaintiffs Full Moon Logistics, LLC and Jadesh Jaigobind, demand

  injunctive relief enjoining Defendants Bald Eagle Logistics, Inc. and Malian Nus from

  continued misappropriation of Plaintiffs’ Trade secrets and judgment against Defendants

  Bald Eagle Logistics, Inc. and Malian Nus for actual losses caused by the misappropriation,

  in conjunction with the unjust enrichment caused by same misappropriation, exemplary

  damages, attorneys fees, court costs, interest, and any other relief the Court deems just and

  proper.

                                          COUNT III
                                     BREACH OF CONTRACT

  39. Plaintiffs reallege and incorporate herein the allegations set forth in paragraphs 1-11,

     above.

  40. To prove breach of contract, the plaintiff must establish “(1) the existence of a contract,

     (2) a breach of the contract, and (3) damages resulting from the breach.” See Asset Mgmt.

     Holdings, LLC v. Assets Recovery Ctr. Invs., LLC, 238 So.3d 908, 912 (Fla. 2d DCA

     2018). (quoting Rollins, Inc. v. Butland, 951 So.2d 860, 876 (Fla.2d DCA 2006)).

  41. Here, Plaintiffs and Defendants voluntarily and knowingly entered into the Dispatcher –

     Carrier Agreement and affixed their signatures to the attached document. Plaintiffs

     offered to Defendants dispatcher services, to which Defendants accepted, in exchange for

     monetary compensation.

  42. Defendants materially breached this contract upon notifying Plaintiffs of Defendants

     unilateral cancellation of the Agreement.
Case 8:21-cv-02695-WFJ-AAS Document 1 Filed 11/17/21 Page 9 of 13 PageID 9




  43. Plaintiffs immediately notified Defendants of their material breach and pointed to

     Defendants breach of section 2, whereby Defendants were required to give 30 days

     written notice prior to terminating the Agreement.

  44. Defendants failed to give appropriate notice to Plaintiffs prior to terminating the

     Agreement both in form by delivering the notice orally and in timing by issuing

     termination immediately.

  45. Plaintiffs immediately notified Defendants of its material breach under section 7 of the

     Agreement whereby Defendants agreed to be prohibited from, directly or indirectly,

     soliciting and/or doing business involving transportation or of a warehousing nature with

     any of the companies and customers who have been serviced by carrier as a result of the

     Agreement for a period of two years following the termination of Agreement.

  46. Defendants have continued to solicit and do business with the companies and customers

     who have been serviced by carrier as a result of the Agreement. See Attached Exhibit

     “D” and “E”.

  47. Plaintiffs immediately notified Defendants of its material breach under section 8 of the

     Agreement whereby Defendants agreed and acknowledged that the customer information

     provided by Full Moon is the sole and exclusive property of Full Moon and as such,

     neither it, nor any employee, agent, or subcontractor shall back-solicit, directly or

     indirectly, communicate or perform any service for compensation for any account of Full

     Moon that had been previously tendered to Defendants.

  48. Defendants have continued to back-solicit, directly or indirectly, communicate or perform

     any service for compensation for any account of Full Moon that had been previously

     tendered to Defendants. See Attached Exhibit “D” and “E”.
Case 8:21-cv-02695-WFJ-AAS Document 1 Filed 11/17/21 Page 10 of 13 PageID 10




   49. Plaintiffs immediately notified Defendants of its material breach under section 9 of the

      Agreement whereby Defendants agreed and acknowledged that solicitation of companies

      and customers includes prohibiting any conduct where the purpose of such conduct

      involves transportation and/or handling of property for a customer under arrangements

      first made or procured by Full Moon.

   50. Defendants have continued to solicit companies and customers following termination of

      the Agreement and without consent from Plaintiffs. See Attached Exhibit “D”, and “E”.

   51. Plaintiffs immediately notified Defendants of its material breach under section 10 of the

      Agreement whereby Defendants agreed and acknowledged that violating the terms of the

      Agreement without written authorization from Plaintiffs would be entitled to recover

      25% percent of each invoice within 10 days of each violation. See Attached Exhibit “D”

      and “E”.

   52. Defendants have refused to tender the agreed to penalty for each of the invoices

      Defendant procured from the Agreement following termination of Plaintiffs.

   53. Plaintiffs immediately notified Defendants of its material breach under Section 11 of the

      Agreement whereby Defendants agreed, acknowledged, and negotiated a liquidated

      damages clause which entitles Full Moon to obtain injunctive relief against the breaches

      created by Defendants, in addition to a total of 25% of the aggregate of all rates and

      charges assessed by Defendants for any and all transportation services provided to

      accounts of Full Moon in the amount of (Insert Amount). Defendants further agreed to

      pay Plaintiffs an additional fixed liquidated damage in the amount of $10,000.00 USD.
Case 8:21-cv-02695-WFJ-AAS Document 1 Filed 11/17/21 Page 11 of 13 PageID 11




   54. Plaintiffs have suffered damages as a result of Defendants multiple breaches of the

      Agreement. Plaintiffs have suffered economic losses in the amount of (Insert total

      amount).

   55. As a result of this breach Plaintiffs were forced to retain counsel and are indebted to them

      a reasonable cost.

   56. Plaintiffs are entitled to recover these fees under Fla. Stat. § 57.105.

      WHEREFORE, Plaintiffs Full Moon Logistics, LLC and Jadesh Jaigobind, demand

   judgment against Defendants Bald Eagle Logistics, Inc. and Malian Nus for the amount due

   Plaintiffs, attorneys fees, costs, interest, and any other relief the Court deems just and proper.

                                   COUNT IV
                       QUANTUM MERIUT – UNJUST ENRICHMENT

   57. Plaintiffs reallege and incorporate herein the allegations set forth in paragraphs 1-11,

      above.

   58. This is an action for restitution of unjust enrichment. To prove a cause of action for

      unjust enrichment one must prove that: (1) the plaintiff has conferred a benefit on the

      defendant; (2) the defendant has knowledge of the benefit; (3) the defendant has accepted

      the benefit conferred; and (4) the circumstances are such that it would be inequitable for

      the defendant to retain the benefit without paying fair value for it. Commerce P'ship, 695

      So. 2d at 386.

   59. Here, Plaintiffs conferred a benefit on Defendants by providing dispatch services through

      Plaintiffs’ confidential business compilations.

   60. Defendants had knowledge of the benefit as Defendants as Defendants procured Plaintiffs

      services.
Case 8:21-cv-02695-WFJ-AAS Document 1 Filed 11/17/21 Page 12 of 13 PageID 12




   61. Defendants accepted the benefit conferred through Defendants use and acceptance of

      Plaintiffs’ confidential business compilations.

   62. Defendants have continued to use Plaintiffs’ confidential business compilations without

      Plaintiffs’ express authorization and Defendant has retained the benefit of Plaintiffs’

      confidential business compilations without paying fair value for it.



      WHEREFORE, Plaintiffs Full Moon Logistics, LLC and Jadesh Jaigobind, demand

   judgment against Defendants Bald Eagle Logistics, Inc. and Malian Nus for the amount due

   Plaintiffs, attorneys fees, costs, interest, and any other relief the Court deems just and proper.




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Case 8:21-cv-02695-WFJ-AAS Document 1 Filed 11/17/21 Page 13 of 13 PageID 13
